21-30071-hcm Doc#4 Filed 02/03/21 Entered 02/03/21 17:06:08 Main Document Pg 1 of 3




                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

  IN RE:                                            §
                                                    §
  THE GATEWAY VENTURES, LLC                         §            CASE NO. 21-30071-hcm
                                                    §                CHAPTER 11
                                                    §
         Debtor.                                    §

                        NOTICE OF APPEARANCE AND REQUEST
                       FOR SERVICE OF NOTICES AND PLEADINGS

         The undersigned counsel hereby makes an appearance on behalf of Creditors Westar

  Investors Group, LLC, Saleem Makani, and Suhail Bawa and, pursuant to 11 U.S.C. § 1109(b)

  and Federal Rules of Bankruptcy Procedure 2002, 9007, and 9010, respectfully requests that all

  notices given or required to be served in this proceeding also be served upon the undersigned

  counsel at the following address:

                                               Eric C. Wood
                                          BROWN FOX PLLC
                                      5550 Granite Pkwy., Suite 175
                                           Plano, Texas 75024
                                         Phone: (214) 327-5000
                                          Fax: (214) 327-5001
                                      Email: eric@brownfoxlaw.com

         Further, this request includes the documents referenced above and also includes, without

  limitation, notices of any order, pleadings, motions, applications, complaints, demands, hearings,

  requests, or petitions, disclosure statements, answering or reply papers, memoranda, and briefs in

  support of any of the foregoing and any other documents brought before this Court with respect

  to these proceedings, whether formal or informal, whether written or oral, whether transmitted or

  conveyed by mail, electronic mail, delivery, telephone, telecopy, or otherwise.




  NOTICE OF APPEARANCE                                                                       PAGE 1
21-30071-hcm Doc#4 Filed 02/03/21 Entered 02/03/21 17:06:08 Main Document Pg 2 of 3




        Dated: February 3, 2021

                                      Respectfully submitted,

                                      By: /s/ Eric C. Wood
                                      Eric C. Wood
                                      State Bar No. 24037737
                                      BROWN FOX PLLC
                                      5550 Granite Pkwy., Suite 175
                                      Plano, Texas 75024
                                      Phone: (214) 327-5000
                                      Fax: (214) 327-5001
                                      Email: eric@brownfoxlaw.com

                                      ATTORNEYS FOR CREDITORS
                                      WESTAR INVESTORS GROUP, LLC,
                                      SALEEM MAKANI, AND SUHAIL BAWA




  NOTICE OF APPEARANCE                                                     PAGE 2
21-30071-hcm Doc#4 Filed 02/03/21 Entered 02/03/21 17:06:08 Main Document Pg 3 of 3




                                CERTIFICATE OF SERVICE

         I hereby certify that on February 3, 2021, a true and correct copy of the foregoing
  document was served by electronic notification by the Electronic Case Filing system for the
  United States Bankruptcy Court for the Western District of Texas.


                                            /s/ Eric C. Wood
                                            Eric C. Wood




  NOTICE OF APPEARANCE                                                                 PAGE 3
